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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------X
 MIGUEL LOPEZ individually and on behalf of others
 similarly situated,
                                     Plaintiff                        NOTICE OF MOTION
                                          ,
                                                                      29 U.S.C. 216(b)
                                                                      Collective Action Claim
           -against-
 ANGELITO GUZMAN, ANGELITO AUTO REPAIR                                ECF Case
 (DBA ANGELITO AUTO REPAIR)

                                    Defendants.

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 PLEASE TAKE NOTICE that upon the accompanying Declaration of Lina Franco., dated

 October 16th, 2018, and all prior pleadings and proceedings herein, plaintiffs' counsel will move

 this Court before the Honorable Cheryl Pollak, U.S.M.J., at the United States Courthouse, 225

 Cadman Plaza East, Brooklyn NY , on a date set by the Court, or as soon thereafter as counsel

 can be heard, for an Order:

     1) Protecting plaintiff from any discovery demand that involves plaintiffs' immigration
        status or citizenship at the present or any point in time, during discovery and through the
        time of trial;

     2) Protecting plaintiff from any discovery demand that involves disclosing plaintiff’s tax ID
        numbers and generally precluding defendants’ access to plaintiffs’ tax returns and questions
        regarding tax returns.



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 Dated: New York,
 October 16, 2018


                                                 /s/
                                                 Lina Franco


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